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                          UNITED STATES DISTRICT COURT

                                    DISTRICT 011 OREGON

                                     EUGENE DIVISION


DR. YONGLI ZHANG,                                    Case No. 6:18-cv-00232-TC

                       Plaintiff,                   STIPULATED PROTECTIVE
                                                    ORDER
        v.
UNIVERSITY 011 OREGON, and YUE
I/ANG,

                       Defendants.


                                       STIPULATION

                One or more of the parties has requested the production of information

that at least one party considers to be or to contain confidential information, and that

are subject to protection under Federal Rule of Civil Procedure 26(c).

                The parties agree that good cause exists to protect the confidential nature

of the information contained in the documents, interrogatory responses, responses to

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requests for admission or deposition testimony. This action concerns certain

confidential student and faculty information. The parties expect to exchange documents

and information relating to that confidential student and faculty information. The

parties agree that the entry of this Stipulated Protective Order ("Protective Order") is

warranted to protect against disclosure of such documents and information.

                   Based upon the above stipulation of the parties, and the Court being duly

advised,

                   IT IS HEREBY ORDERED as follows:

                   1.    All documents, testimony, and other materials produced by the

parties in this case and labeled "Confidential" shall be used only in this proceeding.

                   2.    Use of any information or documents labeled "Confidential" and

subject to this Protective Order, including all information derived therefrom, shall be

restricted solely to the litigation of this case and shall not be used for any other purpose.

This Protective Order, however, does not restrict the disclosure or use of any

information or documents lawfully obtained by the receiving party through means or

sources outside of this litigation. Should a dispute arise as to any specific information or

document, the burden shall be on the party claiming that such information or document

was lawfully obtained through means and sources outside of this litigation.

                   3.    The parties, and third parties subpoenaed by one of the parties, may

designate as "Confidential" documents, testimony, written responses, or other materials

produced in this case if they contain information that the producing party has a good

faith basis for asserting is confidential under the applicable legal standards. The party

shall designate each page of the document with a stamp or watermark identifying it as

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"Confidential," if practical to do so.

                4.   If portions of documents or other materials deemed "Confidential"

or any papers containing or making reference to such materials are filed with the Court,

they shall be filed under seal and marked as follows or in substantially similar form:

                CONFIDENTIAL

                IN ACCORDANCE WITH A PROTECTIVE ORDER, THE
                ENCLOSURE(S) SHALL BE TREATED AS CONFIDENTIAL AND
                SHALL NOT BE SHOWN TO ANY PERSON OTHER THAN
                THOSE PERSONS DESIGNATED IN PARAGRAPH 7 OF THE
                PROTECTIVE ORDER.

If a party is filing a document that it has itself designated as "Confidential," that party

shall reference this Stipulated Protective Order in submitting the documents it proposes

to maintain under seal. If a non-designating party is filing a document that another

party has designated as "Confidential," then the non-designating party shall file the

document under seal. If the non-designating party makes a request in writing to have

the document unsealed and the designating party does not file, within ten calendar days,

a motion that shows good cause to maintain the document under seal, then the Court

shall unseal the document. Before seeking to maintain the protection of documents filed

with the Court, a party must assess whether redaction is a viable alternative to complete

nondisclosure.

                5,   Within thirty (30) days after receipt of the final transcript of the

deposition of any party or witness in this case, a party or the witness may designate as

"Confidential" any portion of the transcript that the party or witness contends discloses

confidential information. If a transcript containing any such material is filed with the

Court, it shall be filed under seal and marked in the manner described in paragraph 4.

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Unless otherwise agreed, all deposition transcripts shall be treated as "Confidential"

until the expiration of the thirty-day period.

                6.     "Confidential" information and documents subject to this Protective

Order shall not be filed with the Court or included in whole or in part in pleadings,

motions, briefs, etc., filed in this case, except when any portion(s) of such pleadings,

motions, briefs, etc. have been filed under seal by counsel and marked in the same

manner as described in paragraph 4 above. Such sealed portion(s) of pleadings,

motions, briefs, documents, etc., shall be opened only by the Court or by personnel

authorized to do so by the Court.

                7.     Use of any information, documents, or portions of documents

marked "Confidential," including all information derived therefrom, shall be restricted

solely to the following persons, who agree to be bound by the terms of this Protective

Order, unless additional persons are stipulated by counsel or authorized by the Court:

                a. Outside counsel of record for the parties, and the administrative staff
                   of outside counsel's firms.

                b. In-house counsel for the parties, and the administrative staff for each
                   in-house counsel.

                c. Any party to this action who is an individual, and every employee,
                   director, officer, or manager of any party to this action who is not an
                   individual, but only to the extent necessary to further the interest of the
                   parties in this litigation.

                d. Independent consultants or expert witnesses (including partners,
                   associates and employees of the firm which employs such consultant or
                   expert) retained by a party or its attorneys for purposes of this
                   litigation, but only to the extent necessary to further the interest of the
                   parties in this litigation.

                e. The Court and its personnel, including, but not limited to, stenographic
                   reporters regularly employed by the Court and stenographic reporters
                   not regularly employed by the Court who are engaged by the Court or

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                      the parties during the litigation of this action.

                 f. The authors and the original recipients of the documents.

                 g. Any court reporter or videographer reporting a deposition.

                 h. Employees of copy services, microfilming or database services, trial
                    support firms and/or translators who are engaged by the parties during
                    the litigation of this action.

                 8.      Prior to being shown any documents produced by another party

marked "Confidential," any person listed under paragraph 7(e) or 7(d) shall be given a

copy of this order and informed by counsel that they must abide by its terms.

                9.       Whenever information designated as "Confidential" pursuant to

this Protective Order is to be discussed by a party or disclosed in a deposition, hearing,

or pre-trial proceeding, the designating party may exclude from the room any person,

other than persons designated in paragraph 7, as appropriate, for that portion of the

deposition, hearing or pretrial proceeding.

                10.      If a party files a document or transcript designated as

"Confidential" with the Court and fails to file in the manner described in paragraph 4,

the party who has designated the document or transcript as "Confidential" shall notify

the other party within three business days of the failure to file under seal. The parties

shall confer about whether they can agree on the appropriate course to correct the

failure before going to the Court to enforce this Order.

                11.      Each party reserves the right to dispute the confidential status

claimed by any other party or subpoenaed party in accordance with this Protective

Order. If a party believes that any documents or materials have been inappropriately

designated by another party or subpoenaed party, that party shall confer with counsel


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for the designating party. As part of that conferral, the designating party must assess

whether redaction is a viable alternative to complete non-disclosure. If the parties are

unable to resolve the matter informally, a party may file an appropriate motion before

the Court requesting that the Court determine whether the Protective Order covers the

document in dispute. Regardless of which party files the motion, the party seeking to

protect a document from disclosure bears the burden of establishing good cause for why

the document should not be disclosed. A party who disagrees with another party's

designation must nevertheless abide by that designation until the matter is resolved by

agreement of the parties or by order of the Court.

                12.   The inadvertent failure to designate a document, testimony, or

other material as "Confidential" prior to disclosure shall not operate as a waiver of the

part)?s right to later designate the document, testimony, or other material as

"Confidential." The receiving party or its counsel shall not disclose such documents or

materials ifthat party knows or reasonably should know that a claim of confidentiality

would be made by the producing party. Promptly after receiving notice from the

producing party of a claim of confidentiality, the receiving party or its counsel shall

inform the producing party of all pertinent facts relating to the prior disclosure of the

newly-designated documents or materials, and shall make reasonable efforts to retrieve

such documents and materials and to prevent further disclosure.

                13.   Designation by either party of information or documents as

"Confidential," or failure to so designate, will not constitute an admission that

information or documents are or are not confidential. Neither party may introduce into

evidence in any proceeding between the parties, other than a motion to determine

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whether the Protective Order covers the information or documents in dispute, the fact

that the other party designated or failed to designate information or documents as

"Confidential."

                  14.   Upon the request of the producing party or third party, within 30

days after the entry of a final judgment no longer subject to appeal on the merits of this

case, or the execution of any agreement between the parties to resolve amicably and

settle this case, the parties and any person authorized by this Protective Order to receive

confidential information shall return to the producing party or third party, or destroy,

all information and documents subject to this Protective Order. Returned materials

shall be delivered in sealed envelopes marked "Confidential" to respective counsel. The

party requesting the return of materials shall pay the reasonable costs of responding to

its request. Notwithstanding the foregoing, counsel for a party may retain archival

copies of confidential documents and the University of Oregon may retain documents to

the extent necessary to comply with its obligations under the Oregon Public Records

Act.

                  15.   This Protective Order shall not constitute a waiver of any party's or

nonparty's right to oppose any discovery request or object to the admissibility of any

document, testimony or other information.

                 16.    Nothing in this Protective Order shall prejudice any party from

seeking amendments to expand or restrict the rights of access to and use of confidential

information, or other modifications, subject to order by the Court.

                 17.    The restrictions on disclosure and use of confidential information

shall survive the conclusion of this action and this Court shall retain jurisdiction of this

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action after its conclusion for the purpose of enforcing the terms of this Protective

Order.

IT IS SO STIPULATED:

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                The Court has reviewed the reasons offered in support of entry of this

Stipulated Protective Order and finds that there is good cause to protect the confidential

nature of certain information. Accordingly, the Court adopts the above Stipulated

Protective Order in this action.

                IT IS SO ORDERED.


                DATED:   --~8'--l{r---l~5_. 2018.




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